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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

CPIF LENDING, LLC,                             §
                                               §
                      Plaintiff,               §
                                               §
vs.                                            §           Civil Action No. 4:19-cv-00124
                                               §
FRISCO WADE CROSSING                           §
DEVELOPMENT PARTNERS, LLC and                  §           Instrument No.
MCKINNEY EXECUTIVE SUITES AT                   §           20181011001271450
CRESCENT PARC DEVELOPMENT                      §
PARTNERS, LLC, and                             §
THE UNITED STATES OF AMERICA,                  §
                                               §
                      Defendants.              §


                             SUGGESTION OF BANKRUPTCY

TO THE HONORABLE JUDGE OF SAID COURT:

       Please take notice that on February 17, 2018, Defendants Frisco Wade Crossing

Development Partners, LLC ("Frisco Wade") and McKinney Executive Suites at Crescent Parc

Development Partners, LLC ("McKinney Executive Suites," together with Frisco Wade, the

"Debtors") each filed a voluntary petition for relief under Chapter 11 of the U. S. Bankruptcy

Code with the U. S. Bankruptcy Court, Eastern District of Texas, Sherman Division

("Bankruptcy Court"). The Frisco Wade case number is 19-40427 and the McKinney Executive

Suites case number is 19-40428 (collectively, the "Bankruptcy Case").    A copy of the Official

Form 201, Voluntary Petitions for Non-Individual Filing for Bankruptcy, evidencing the filing of

the Frisco Wade case is attached as Exhibit "A." A copy of the Official Form 201, Voluntary

Petitions for Non-Individual Filing for Bankruptcy, evidencing the filing of the McKinney

Executive Suites case is attached as Exhibit "B."


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                                             Respectfully submitted,


                                             By: /s/ Joseph J. Wielebinski
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                                             PROPOSED COUNSLE FOR THE DEBTORS AND
                                             DEBTORS-IN-POSSESSION



                                CERTIFICATE OF SERVICE

        I hereby certify that on February 18, 2019, notice of this document was electronically
mailed on February 18, 2019, to the parties registered or otherwise entitled to receive electronic
notices in this case pursuant to the Electronic Filing Procedures in this District.



                                                    /s/ Joseph J. Wielebinski
                                                    One of Counsel




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